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          of detail each party provides; i.e., the more detail a party

          provides, the more detail a party shall receive.

       e. Depositions. Each side may conduct any number of depositions,

    subject to the time limit specified below.

            i.   Limitation on Hours for Deposition Discovery. Each side is

          limited to a total of 70 hours of taking testimony by deposition

          upon oral examination. Fed. R. Civ. P. 30(d)(1).

           ii.   Location of Depositions. Any party or representative

          (officer, director, or managing agent) of a party filing a civil

          action in this district court must ordinarily be required, upon

          request, to submit to a deposition at a place designated within

          this district. Exceptions to this general rule may be made by

          order of the Court or by agreement of the Parties. A defendant

          who becomes a counterclaimant, cross-claimant, or third-party

          plaintiff shall be considered as having filed an action in this

          Court for the purpose of this provision.

       f. Disclosure of Expert Testimony.

            i.   Expert Reports. For the party who has the initial burden of

          proof on the subject matter, the initial Federal Rule 26(a)(2)

          disclosure of expert testimony is due on or before January 12,

          2024. The supplemental disclosure to contradict or rebut

          evidence on
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    scheduling of a discovery teleconference. The following attorneys,
    including at least one Delaware Counsel and at least one Lead
    Counsel per party, participated in a verbal meet-and-confer (in person
    and/or by telephone) on [INSERT DATES].

         The disputes requiring judicial attention are listed below:

    [A NON-ARGUMENTATIVE LIST OF DISPUTES REQUIRING
    JUDICIAL ATTENTION]
             ii.   On that date, the party seeking relief shall file with the

            Court a letter, not to exceed three pages, outlining the issues in

            dispute and its position on those issues. Within three days, any

            party opposing the application for relief may file a letter, not to

            exceed three pages, outlining that party's reasons for its

            opposition.

            iii.   In its discretion, the Court will schedule a teleconference to

            hear arguments on the dispute.

    5.      Motions to Amend.

            a.     Any motion to amend (including a motion for leave to

         amend) a pleading shall not be accompanied by an opening brief but

         shall, instead, be accompanied by a letter, not to exceed three pages,

         describing the basis for the requested relief, and shall attach the

         proposed amended pleading as well as a "blackline" comparison to

         the prior pleading.




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              b.    Within seven days after the filing of a motion in compliance

           with this Order, any party opposing such a motion shall file a

           responsive letter, not to exceed five pages.

              c.    Within three days thereafter, the moving party may file a

           reply letter, not to exceed two pages, and, by this same date, the

           parties shall file a letter requesting a teleconference to address the

           motion to amend.

      6.      Motions to Strike.

           a. Any motion to strike any pleading or other document shall not be

      accompanied by an opening brief but shall, instead, be accompanied by

      a letter , not to exceed three pages, describing the basis for the

      requested relief, and shall attach the document to be stricken.

           b. Within seven days after the filing of a motion in compliance with

      this Order, any party opposing such a motion shall file a responsive

      letter, not to exceed five pages.

           c. Within three days thereafter, the moving party may file a reply

      letter, not to exceed two pages, and, by this same date, the parties shall

      file a letter requesting a teleconference to address the motion to strike.

      7.      Application to Court for Protective Order. Should counsel find

it will be necessary to apply to the Court for a protective order specifying

terms and conditions for the disclosure of confidential information, counsel


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should confer and attempt to reach an agreement on a proposed form of order

and submit it to the Court within twenty one days from the date of this

Order. Should counsel be unable to reach an agreement on a proposed form of

order, counsel must follow the provisions of Paragraph 3(g) above.

      Any proposed protective order must include the following paragraph:

      Other Proceedings. By entering this order and limiting the disclosure
      of information in this case, the Court does not intend to preclude
      another court from finding that information may be relevant and
      subject to disclosure in another case. Any person or party subject to this
      order who becomes subject to a motion to disclose another party's
      information designated "confidential" [the parties should list any other
      level of designation, such as "highly confidential," which may be
      provided for in the protective order] pursuant to this order shall
      promptly notify that party of the motion so that the party may have an
      opportunity to appear and be heard on whether that information should
      be disclosed.

      8.      Papers Filed Under Seal. A redacted version of any sealed

document shall be filed electronically within seven days of the filing of the

sealed document. Administrative Procedures Governing Filing and Service

by Electronic Means § G.

      9.      Courtesy Copies. The parties need not provide to the Court any

courtesy copies of briefs, any other document filed in support of any briefs

(such as appendices, exhibits, declarations, and affidavits), or papers filed

under seal.




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         10.   ADR Process. After the filing of case dispositive motions, this

matter may be referred to a magistrate judge to explore the possibility of

alternative dispute resolution.

         11.   Interim Status Report. On August 18, 2023, counsel shall submit

a joint letter to the Court with an interim report on the nature of the matters

in issue and the progress of discovery to date. Then, if the Court deems it

necessary, it will schedule a status conference.

         12.   Case Dispositive Motions. All case dispositive motions, an opening

brief, and affidavits, if any, in support of the motion shall be served and filed

on or before March 22, 2024. Briefing will be presented pursuant to the

Court's Local Rules. No case dispositive motion under Rule 56 may be filed

more than ten (10) days before the above date without leave of the Court.

          13. Applications by Motion. Except as otherwise specified herein, any

application to the Court shall be by written motion filed with the Clerk. Any

non-dispositive motion should contain the statement required by Local Rule

7.1.1.

         14.   Duplicates. The parties should not submit duplicates of the same

document. If a party attaches a document as an exhibit to a motion, the

opposing party should cite to that exhibit, rather than attaching a new exhibit

of the same document to his own motion.




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      15.   Pretrial Conference. On July 8, 2024, the Court will hold a

pretrial conference in Court with counsel beginning at ______. Unless

otherwise ordered by the Court, the parties should assume that filing the

pretrial order satisfies the pretrial disclosure requirement of Federal Rule of

Civil Procedure 26(a)(3). The parties shall file with the Court the joint

proposed final pretrial order with the information required by the form of

Final Pretrial Order which accompanies this Scheduling Order on or before

June 9, 2024. Unless otherwise ordered by the Court, the parties shall comply

with the timeframes set forth in Local Rule 16.3(d)(1)-(3) for the preparation

of the joint proposed final pretrial order. The Court will advise the parties at

or before the above-scheduled pretrial conference whether an additional

pretrial conference will be necessary.

      16.   Motions in Limine. Motions in limine shall not be separately

filed. All in limine requests and responses thereto shall be set forth in the

proposed pretrial order. Each party shall be limited to three (3) in limine

requests, unless otherwise permitted by the Court. The in limine request and

any response shall contain the authorities relied upon; each in limine request

may be supported by a maximum of three (3) pages of argument and may be

opposed by a maximum of three (3) pages of argument, and the party making

the in limine request may add a maximum of one (1) additional page in reply

in support of its request. If more than one party is supporting or opposing an


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